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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

DONNA CURLING, et al., )
)

Plaintiffs, ) CA No. 1:17¢v02989-AT
)
v. )
)
BRIAN KEMP, et al., )
)
Defendants. j

 

DECLARATION OF CHRIS HARVEY
I, Chris Harvey, do hereby declare and state that the following facts are true
and correct to the best of my knowledge, information and belief.
1.
I am over the age of 21 years and am in all ways competent to give
testimony, suffering no physical or mental disabilities.
2.
[am aware of the fact that this declaration is being submitted in support of
the State Defendants’ Motion to Dismiss.
3.
Tam the Director of Elections for the State Elections Division of the Office

of the Secretary of State. The Elections Division is responsible for carrying out the
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duties of the Secretary of State pertaining to election laws, including compiling and
maintaining election results, as well as carrying out other responsibilities.
4,

The individual voting report attached hereto as Exhibits | is a true and
accurate copy of the voter information and voting history maintained in the
Georgia Voter Registration System for Plaintiff Donna Curling. The voting history
for Ms. Curling indicates that she did not vote in the June 20, 2017 run-off election
for Congressional District 6.

Ss

The individual voting report attached hereto as Exhibits 2 is a true and
accurate copy of the voter information and voting history maintained in the
Georgia Voter Registration System for Plaintiff Donna Price. The voter
information for Ms. Price indicates that she resides in Congressional District 4.

6,

The individual voting report attached hereto as Exhibits 3 is a true and
accurate copy of the voter information and voting history maintained in the
Georgia Voter Registration System for Plaintiff Jeffrey Schoenberg. The voting
history for Mr. Schoenberg indicates that he voted by absentee ballot in the June

20, 2017 run-off election for Congressional District 6.
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The individual voting report attached hereto as Exhibits 4 is a true and
accurate copy of the voter information and voting history maintained in the
Georgia Voter Registration System for Plaintiff William Digges. The voting
history for Mr. Digges indicates that he voted by absentee ballot in the June 20,
2017 run-off election for Congressional District 6.

8.

The individual voting report attached hereto as Exhibits 5 is a true and
accurate copy of the voter information and voting history maintained in the
Georgia Voter Registration System for Plaintiff Laura Di gges. The voting history
for Ms. Digges indicates that she voted by absentee ballot in the June 20, 2017 run-
off election for Congressional District 6.

9.

The individual voting report attached hereto as Exhibits 6 is a true and
accurate copy of the voter information and voting history maintained in the
Georgia Voter Registration System for Plaintiff Ricardo Davis. The voter

information for Mr. Davis indicates that he resides in Congressional District 11.

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I declare under penalty of perjury under the laws of the United States of

America, and pursuant to 28 U.S.C. § 1746, that the foregoing is true and correct,

This _{ day of August, 2017.

Owe

CHRIS HARVEY(_/
Director, Division of Elections
Office of the Secretary of State
